          Case 21-21053-jrs           Doc 79-1     Filed 11/24/21 Entered 11/24/21 17:05:12          Desc
                                                 Exhibit A Page 1 of 1

                                                                     Account Information
                                                                                  Report
                                                                                     EG Global LLC

October 01, 2021 - October 31, 2021
 Account: *4066 (EG Global LLC)


 Available Balance                                                                           $0.00
 Opening Ledger Balance                                                                      $0.00
 Collected Balance                                                                           $0.00
 Current Balance                                                                             $0.00
 Closing Ledger                                                                              $0.00
 Last Activity Date
 Float Amount                                                                                $0.00
 Hold Amount                                                                                 $0.00
 Last Deposit Amount                                                                         $0.00
 Last Deposit Date
 Credit Line / Overdraft Amount                                                              $0.00

 Account: *4090 (Extrusion Group LLC)


 Available Balance                                                                      $34,002.07
 Opening Ledger Balance                                                                 $34,002.07
 Collected Balance                                                                      $34,002.07
 Current Balance                                                                        $34,002.07
 Closing Ledger                                                                         $34,002.07
 Last Activity Date
 Float Amount                                                                                $0.00
 Hold Amount                                                                                 $0.00
 Last Deposit Amount                                                                     $4,662.07
 Last Deposit Date                                                                      10/26/2021
 Credit Line / Overdraft Amount                                                              $0.00


                                                            Check
  Posted Date Description                                              Credit            Debit
                                                            Number
 10/26/2021   MyDeposit                                                  $4,662.07
 10/25/2021   MyDeposit                                                  $4,340.00
 10/25/2021   MyDeposit                                                  $2,500.00
 10/25/2021   Wire Transfer Credit                                       $7,500.00
               INCOMING DOMESTIC WIRE
               20211025B1QGC01C003736
 10/22/2021   ACH Credit                                                $15,000.00
               CORP PAY GARY BEALL ENTER
               CCD 062000014287671
               EXTRUSION GROUP



 Report Generated on: 11/19/21 07:30:01 AM
